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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA,
CARTIER INTERNATIONAL A.G.,                        Case No. 18-cv-06555
MONTBLANC-SIMPLO GMBH, CHLOE
S.A.S., VAN CLEEF & ARPELS SA, and                 Judge Joan B. Gottschall
OFFICINE PANERAI A.G.,
                                                   Magistrate Judge Susan E. Cox
               Plaintiffs,

v.

XIAO MEICHEN, et al.,
              Defendants.


                             SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on December 7, 2018 [54], in

favor of Plaintiffs Richemont International SA, Cartier International A.G., Montblanc-Simplo

GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and Officine Panerai A.G., (collectively,

“Plaintiffs”), and against the Defendants Identified in Schedule A in the amount of one million

dollars ($1,000,000) per Defaulting Defendant for willful use of counterfeit Plaintiffs’

Trademarks on products sold through at least the Defendant Internet Stores, and Plaintiffs

acknowledge payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfies the same as to the following

Defendant:

              Defendant Name                                       Line No.
             Mingway Shop Store                                      293




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       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.



Dated this 18th day of July 2019.            Respectfully submitted,


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                                             Cartier International A.G., Montblanc-Simplo
                                             GmbH, Chloe S.A.S., Van Cleef & Arpels SA,
                                             Officine Panerai A.G.




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